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                    United States Court of Appeals
                                    For the First Circuit
      No. 25-1138

        STATE OF NEW YORK; STATE OF CALIFORNIA; STATE OF ILLINOIS; STATE OF
              RHODE ISLAND; STATE OF NEW JERSEY; COMMONWEALTH OF
          MASSACHUSETTS; STATE OF ARIZONA; STATE OF COLORADO; STATE OF
         CONNECTICUT; STATE OF DELAWARE; DISTRICT OF COLUMBIA; STATE OF
       HAWAII; STATE OF MAINE; STATE OF MARYLAND; STATE OF MICHIGAN; STATE
        OF MINNESOTA; STATE OF NEVADA; STATE OF NORTH CAROLINA; STATE OF
            NEW MEXICO; STATE OF OREGON; STATE OF VERMONT; STATE OF
                         WASHINGTON; STATE OF WISCONSIN,

                                         Plaintiffs - Appellees,

                                                   v.

      DONALD J. TRUMP, in their official capacity as President of the United States; U.S. OFFICE
         OF MANAGEMENT AND BUDGET; RUSSELL THURLOW VOUGHT, in their official
       capacity as Director of the U.S. Office of Management and Budget; U.S. DEPARTMENT OF
       THE TREASURY; SCOTT BESSENT, in their official capacity as Secretary of the Treasury;
      PATRICIA COLLINS, in their official capacity as Treasurer of the U.S.; U.S. DEPARTMENT
      OF HEALTH AND HUMAN SERVICES; DR. DOROTHY A. FINK, in their official capacity
       as Acting Secretary of Health and Human Services; U.S. DEPARTMENT OF EDUCATION;
         DENISE CARTER, in their official capacity as Acting Secretary of Education; FEDERAL
          EMERGENCY MANAGEMENT AGENCY; CAMERON HAMILTON, in their official
             capacity as Acting Administrator of the U.S. Federal Emergency Management; US
      DEPARTMENT OF TRANSPORTATION; SEAN PATRICK DUFFY, in their official capacity
       as Secretary of Transportation; U.S. DEPARTMENT OF LABOR; VINCE MICONE, in their
            official capacity as Acting Secretary of Labor; U.S. DEPARTMENT OF ENERGY;
           CHRISTOPHER ALLEN WRIGHT, in their official capacity as Secretary of the U.S.
           Department of Energy; U.S. ENVIRONMENTAL PROTECTION AGENCY; LEE M.
          ZELDIN, in their official capacity as Administrator of the U.S. Environmental Protection
      Agency; U.S. DEPARTMENT OF HOMELAND SECURITY; KRISTI NOEM, in their official
       capacity as Secretary of the U.S. Department of Homeland Security; U.S. DEPARTMENT OF
        JUSTICE; PAMELA J. BONDI, in their official capacity as Attorney General; NATIONAL
          SCIENCE FOUNDATION; DR. SETHURAMAN PANCHANATHAN, in their official
                          capacity as Director of the National Science Foundation,

                                        Defendants - Appellants.


                                             MANDATE
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                                      Entered: February 13, 2025

             In accordance with the judgment of February 13, 2025, and pursuant to Federal Rule of
      Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                                 By the Court:

                                                 Anastasia Dubrovsky, Clerk


      cc:
      Zachary A. Cunha, Eric Dean McArthur, Daniel Tenny, Brett Allen Shumate, Daniel S. Schwei,
      Brian James Springer, Andrew F. Freidah, Eitan R. Sirkovich, Freedom Cheteni, Kathryn M.
      Sabatini, Michael J. Myers, Rabia Muqaddam, Sarah Rice, Mark Stephen Grube, Leonard
      Giarrano IV, Colleen K. Faherty, Molly Thomas-Jensen, Zoe Levine, Christine Chuang,
      Christopher J. Kissel, Kenneth J. Sugarman, Lara Haddad, Marie E. Logan, Nicholas R. Green,
      Theodore McCombs, Laura Faer, Carly J. Munson, Alex Hemmer, Jeremy Feigenbaum, Angela
      Cai, Shankar Duraiswamy, Katherine B. Dirks, Turner Smith, Anna Esther Lumelsky, Joshua
      Bendor, Nathan T. Arrowsmith, Shannon Wells Stevenson, Jill Lacedonia, Michael Kenneth
      Skold, Vanessa L. Kassab, Andrew C. Mendrala, David D. Day, Kalikoonalani D. Fernandes,
      Jason David Anton, Adam D. Kirschner, Neil Giovanatti, Linus Banghart-Linn, Elizabeth
      Kramer, Heidi Parry Stern, Daniel P. Mosteller, Anjana Samant, Robert A. Koch, Jonathan T.
      Rose, Andrew R.W. Hughes, Leah Brown, Aaron Bibb, Arthur West
